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                               USA vs. RICARDO TOWNSEND

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 1                  IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF IOWA
 2                         DAVENPORT DIVISION

 3
       UNITED STATES OF AMERICA,            )
 4                                          )
                    Plaintiff,              )
 5                                          )   ORIGINAL
                    -vs-                    )   CRIMINAL NO. 3:08-cr-69
 6                                          )
       RICARDO TOWNSEND,                    )   TRANSCRIPT OF
 7                                          )   PROCEEDINGS
                    Defendant.              )   SENTENCING HEARING
 8                                          )

 9

10             TRANSCRIPT OF PROCEEDINGS, held before the Honorable John

11     Jarvey, at the Federal Courthouse, Davenport, Iowa, commencing

12     at 2:00 p.m., July 1, 2009, reported by Linda Faurote-Egbers,

13     Certified Shorthand Reporter and Notary Public for the State of

14     Iowa.

15

16                               APPEARANCES

17     Plaintiff by:                  MELISA ZAEHRINGER
                                      Assistant United States
18                                    Attorney
                                      131 East Fourth Street
19                                    Davenport, IA 52801

20
       Defendant by:                  MATTHEW ANDREW LEDDIN
21                                    Attorney at Law
                                      5108 Jersey Ridge Road
22                                    Davenport, IA 52807

23

24     Reported by:

25     Linda Faurote-Egbers
       Certified Shorthand Reporter

         LINDA FAUROTE-EGBERS, FCRR, RMR, RPR, CSR IA (622) IL (3715)
          131 East Fourth Street, Davenport, IA 52801 563-884-7737
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                                                                           2
 1                 THE COURT:    Please be seated.     The record can reflect

 2     that we are here in the matter of the United States of America

 3     versus Ricardo Townsend, it is Criminal Case 3:08-cr-69.          Mr.

 4     Townsend is before the Court for sentencing having been found

 5     guilty at trial on February 25, 2009, of the crime charged in

 6     Count 1 of the August 13, 2008, Indictment.          He is present and

 7     represented by Matthew Leddin.       The government is represented by

 8     Melisa Zaehringer.

 9                 I have reviewed the Presentence Report in its entirety

10     in preparation for sentencing.       I have also today received

11     several letters submitted in support of the defendant, actually

12     two.

13                 Mr. Leddin, following your review of the Presentence

14     Report, did you find factual errors that need to be resolved in

15     order for sentence to be imposed today?

16                 MR. LEDDIN: No factual errors, just the objections or

17     amendments I've noted in my objections, in my amended

18     objections.    Thank you.

19                 THE COURT:    Did you find factual errors in the report?

20                 MS. ZAEHRINGER:     No, Your Honor.

21                 THE COURT:    In the defendant's objections to the

22     Presentence Report, a letter dated May 5th and a letter of June

23     16th, both of 2009, there are a number of things that the

24     defendant objects to; however, there is no objection to the fact

25     that the defendant has two or more prior felony drug offenses,
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                                                                              3
 1     is that correct, Mr. Leddin?

 2                 MR. LEDDIN: That is correct, Your Honor.

 3                 THE COURT:    Therefore the sentence that the Court must

 4     impose is a sentence for which the Court has no discretion.            I

 5     would say that the other objections are moot in light of that

 6     fact.   Do you agree?

 7                 MR. LEDDIN: I do agree, Your Honor.

 8                 THE COURT:    Ms. Zaehringer delivered to the Court just

 9     now originals -- not originals -- certified copies of two felony

10     drug offense convictions, Government's Exhibits 1 and 2.          We

11     will receive those into the record and keep those with the

12     record.

13                 Mr. Leddin, I would hear from you first and then from

14     Mr. Townsend and then from Ms. Zaehringer as to the sentence to

15     be imposed.

16                 MR. LEDDIN: Thank you, Your Honor.        Both my client and

17     I are aware of the mandatory minimum sentence of life

18     imprisonment pursuant to 21 USC Section 841(b) because of his

19     two or more prior felony drug convictions.

20                 From the beginning of this case Mr. Townsend has

21     strongly denied any involvement in any type of drug conspiracy

22     out of Johnson County, Iowa, or the Southern District of Iowa.

23     To this day, of course, he continues his strong resistance to

24     that.

25                 Throughout my representation of Mr. Townsend he has
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                                                                           4
 1     been extremely respectful toward me, has been very appreciative

 2     of my hard work in this case, and it has been my pleasure to

 3     represent him here today.

 4                  Mr. Townsend does have a request or two for potential

 5     placement.    He would like to be sent to the facility in Terre

 6     Haute, Indiana, or the facility in Greenville, Illinois.          Both

 7     facilities would be relatively close to where his family resides

 8     which is primarily in the Chicago area.         He also does have some

 9     family in the Indiana area and some other parts of Illinois.

10     Thank you, Your Honor.

11                  THE COURT:   Mr. Townsend, is there something you'd

12     like to say in your own behalf before the Court imposes

13     sentence?

14                  THE DEFENDANT:    Yes, briefly.

15                  THE COURT:   Go ahead.

16                  THE DEFENDANT:    Just wanted to just thank everybody or

17     whatever.    If everything that my life is to be taken away from

18     me, my family or whatever, I hope the ones that did what they

19     had to do for themselves to try to get out early to their

20     families, I hope that they don't go -- for your hard work, your

21     hard work, making a case against me, I hope they do something

22     with their lives and everything goes good for themselves and

23     basically that's all I have to say.        Thank you, Your Honor.

24                  THE COURT:   Ms. Zaehringer?

25                  MS. ZAEHRINGER:    Your Honor, the government is asking
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                                                                            5
 1     for the life sentence which is the statutory mandatory minimum.

 2                 THE COURT:    There was a suggestion before this hearing

 3     that the sentence should run concurrent with the convictions in

 4     Paragraphs 45 and 46 of the Presentence Report.           Tell me about

 5     that, Ms. Zaehringer.

 6                 MS. ZAEHRINGER:     Your Honor, I don't have a problem

 7     with running it concurrent with those two convictions.

 8                 THE COURT:    I have considered all of the factors set

 9     forth in Title 18, United States Code, Section 3553(a) in

10     fashioning an appropriate sentence.        I considered the nature and

11     circumstances of the offense and the history and characteristics

12     of Mr. Townsend.

13                 After doing that it doesn't make any sense to discuss

14     each of those factors as the mandatory minimum sentence here

15     trumps the Guidelines, actually trumps all 3553(a) factors.

16                 I do note, however, for the record, that it appears

17     that Mr. Townsend was convicted of a drug felony in 1994 as

18     reflected in Paragraph 38; a drug felony in 1992 as reflected in

19     Paragraph 39; a drug felony in 2004 as reflected in Paragraph

20     43; and a drug felony in 2008 as reflected in Paragraph 45; and

21     a drug -- another one in 2008 as reflected in Paragraph 46; that

22     in addition to other serious criminal offenses involving such

23     things as weapons, armed robbery, aggravated unlawful restraint;

24     but it is the fact of a conviction such as that that he

25     sustained on February 25th together with two prior drug felonies
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                                                                            6
 1     that leave the Court no discretion whatsoever.

 2                 It is the judgment of the Court that the defendant,

 3     Ricardo Townsend, is hereby sentenced to the custody of the

 4     Bureau of Prisons for the rest of his natural life on Count 1 of

 5     the Indictment, that sentence to run concurrent with the

 6     sentences imposed in Paragraphs 45 and 46, or at least the

 7     undischarged portion of those sentences.

 8                 If for any reason you were released early, you shall

 9     be placed on supervised release for the rest of your natural

10     life.   Within 72 hours of release from the Bureau of Prisons, in

11     that event you shall report in person to the probation office in

12     the district to which you are released.

13                 If you were released on supervised release, then you

14     shall not commit any other federal, state, or local crime.          You

15     shall not possess a firearm or destructive device.           You shall

16     not illegally possess a controlled substance.

17                 You shall comply with all the standard conditions of

18     supervised release as set forth by the Sentencing Commission

19     plus the following special conditions:         That you submit to

20     substance abuse evaluation, testing, and treatment.           That you

21     not use alcohol or other intoxicants; that you maintain

22     full-time, legitimate employment; and that you submit to a

23     search of your person, your residence, adjacent structures,

24     office, or vehicle.     All is more fully set forth in the Judgment

25     to be entered later today.
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                                                                         7
 1                 I find that you do not have the ability to pay a fine.

 2     You are ordered to pay a $100 special assessment to the Victims

 3     Assistance Fund which is due and payable immediately without

 4     interest to the Clerk of Court.

 5                 The Court recommends that Mr. Townsend be incarcerated

 6     at the Federal Correctional Institute at Terre Haute, Indiana,

 7     or secondarily Greenville, Illinois, or any other facility as

 8     close to Chicago as possible.

 9                 You have the right to take an immediate appeal from

10     this Judgment.     Any appeal has to be filed within ten days from

11     today.

12                 Mr. Leddin, do you have anything else?

13                 MR. LEDDIN: No, Your Honor.       Thank you.

14                 THE COURT:    Ms. Zaehringer, do you?

15                 MS. ZAEHRINGER:     No, Your Honor.

16                 THE COURT:    We are in recess.

17                 (Proceedings concluded at 2:09 p.m., July 1, 2009.)

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 1                              C E R T I F I C A T E

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 4                I, the undersigned, a Certified Shorthand Reporter of
       the State of Iowa, do hereby certify that I was called in the
 5     capacity of a Certified Shorthand Reporter to report the
       foregoing proceedings in the above-captioned matter and that
 6     same was taken down by me in stenotype and later reduced to
       Computer-Aided Transcription under my supervision and direction,
 7     and that the foregoing Transcript of Proceedings is a true
       record of the testimony given and all objections interposed and
 8     rulings made thereon.

 9
                 I further certify that I am neither attorney or
10     counsel for, nor related to or employed by any of the parties to
       the action in which these proceedings were had, and further,
11     that I am not a relative or employee of any attorney or counsel
       employed by the parties hereto or financially interested in the
12     action.

13
                   Dated at Davenport, Iowa, this 31st day of August,
14     2009.

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16                              /s/ Linda Faurote-Egbers
                                Certified Shorthand Reporter
17                              and Notary Public
                                Linda Faurote-Egbers
18                              Notarial Seal
                                Commission Number 223944
19                              My Commission Expires 8-10-11

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